
413 Mich. 498 (1982)
320 N.W.2d 663
PEOPLE
v.
FIELDS
Docket No. 66361, (Calendar No. 19).
Supreme Court of Michigan.
Argued October 15, 1981.
Decided June 14, 1982.
Frank J. Kelley, Attorney General, Louis J. Caruso, Solicitor General, Edward Grant, Prosecuting Attorney, and John L. Wildeboer, Chief Appellate Attorney, for the people.
Susan J. Smith, Assistant State Appellate Defender, for defendant.
MEMORANDUM OPINION. After full consideration of the briefs and arguments of the parties, we are satisfied that the Court of Appeals made the correct decision in this case, People v Fields, 101 Mich App 287; 300 NW2d 548 (1980).
Remanded to the trial court for entry of an order dismissing the case and discharging the defendant.
COLEMAN, C.J., and KAVANAGH, WILLIAMS, LEVIN, FITZGERALD, RYAN, and BLAIR MOODY, JR., JJ., concurred.
